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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 0:21-CR-60257-PCH/Becerra

  UNITED STATES OF AMERICA,

  v.

  SERGIO RODRIGO MENDEZ MENDIZABAL,

        Defendant.
  _____________________________________/

                 REPORT AND RECOMMENDATION ON ENTRY OF PLEA

         THIS CAUSE is before the Court on Defendant’s Waiver of Indictment, Arraignment, and

  Change of Plea. Based upon the Change of Plea hearing conducted on September 28, 2021, the

  undersigned makes the following findings, and recommends that the guilty plea be accepted.

         1.      As an initial matter, the Court advised Sergio Rodrigo Mendez Mendizabal

  (“Defendant”) of the right to appear at the plea hearing in person. Defendant waived the right to

  appear in person. Defendant, Defendant’s attorney, and the Assistant United States Attorney all

  consented to proceed by videoconference. The Court found that holding the change of plea now,

  rather than delaying it until all could appear before the Court in person, was important because the

  parties had reached a resolution and did not want to further delay the matter. Pursuant to the

  Administrative Orders of this Court, specifically, including, 2020-76, 2020-53, 2020-41, 2020-33,

  2020-24, 2020-21, 2020-18, 2020-23, 2021-12, 2021-33, and 2021-50, the Court found that

  Defendant’s guilty plea could not be further delayed without serious harm to the interests of justice,

  and the hearing was conducted by videoconference which was the means reasonably available.

         2.      This Court advised Defendant of the right to have these proceedings conducted by

  the District Judge assigned to the case, and that this Court was conducting the change of plea




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  hearing pursuant to an Order of Reference from the District Court. This Court further advised

  Defendant that the District Judge assigned to this case would be the sentencing judge and would

  make all findings and rulings concerning Defendant’s sentence. This Court advised Defendant

  that he did not have to permit the undersigned United States Magistrate Judge to conduct this

  hearing and could request that the change of plea hearing be conducted by the District Judge

  assigned to the case. Defendant, Defendant’s attorney, and the Assistant United States Attorney

  all consented on the record to this Court conducting the change of plea hearing.

         3.      This Court conducted a plea colloquy in accordance with the outline set forth in the

  Bench Book for District Judges, and in accordance with Fed. R. Crim. P. 11.

         4.      Defendant pled guilty to the sole count of the Information. The Information charges

  Defendant with Conspiracy to Commit Money Laundering, in violation of Title 18, United States

  Code, Sections 1956(h) and 1957(a). The Court advised Defendant that as to this count there is a

  maximum of ten years imprisonment, followed by a period of supervised release of up to three

  years, and a possible fine of up to $250,000.00 or twice the amount of criminally derived property

  involved in the transactions, whichever is greater, and court-ordered forfeiture and restitution as

  applicable. The Court also advised Defendant that there is a mandatory special assessment of

  $100.00.

         5.      To set forth the factual basis for the entry of the plea, Defendant and the

  Government submitted a written Factual Proffer.         The Factual Proffer, also read by the

  Government at the hearing, established all the essential elements of the crime to which Defendant

  is pleading guilty. Defendant acknowledged that the Factual Proffer was accurate.

         6.      There is a written plea agreement which has been entered into by the parties in this

  case. This Court reviewed that plea agreement on the record and Defendant acknowledged that he



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  understood the terms of the plea agreement and that he had signed the plea agreement.

         7.      Defendant also waived his right to appeal his sentence unless the government files

  an appeal and/or his sentence exceeds the maximum permitted by statute and/or is the result of an

  upward departure or a variance from the guideline range that the Court establishes at sentencing.

  Defendant also waived his right to challenge the constitutionality of the statute at issue and whether

  the conduct falls within the statute. In addition, the undersigned finds that Defendant’s waiver of

  his right to appeal his sentence in this case is knowing and voluntary.

         8.      Based upon all of the foregoing and the plea colloquy conducted by this Court, the

  undersigned finds that Defendant is fully competent and capable of entering an informed plea, that

  Defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

  of guilty is a knowing and voluntary plea supported by an independent basis in fact containing

  each of the essential elements of the offense.

         9.      Therefore, the undersigned recommends that Defendant be found to have freely and

  voluntarily entered a guilty plea to the sole count of the Information filed in this case, as more

  particularly described herein, and that Defendant be adjudicated guilty of that offense.

         10.     A pre-sentence investigation report is being prepared for the District Court by the

  United States Probation Office.

         Accordingly, it is hereby RECOMMENDED that Defendant’s plea of guilty be accepted,

  that Defendant be adjudicated guilty of the offense to which he has entered his plea of guilty, and

  that a sentencing hearing be conducted for final disposition of this matter.

         The parties must file a statement of non-objection or its written objections to the Report

  and Recommendation by close of business on Tuesday, October 5, 2021. Counsel did not object

  to this deadline. Pursuant to Fed. R. Crim. P. 59(b), Eleventh Circuit Rule 3-1, and accompanying




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  Internal Operating Procedure 3, the parties are hereby notified that failure to object in accordance

  with 28 U.S.C. § 636(b)(1) waives the right to challenge on appeal the District Court’s order based

  on unobjected-to factual and legal conclusions. See Thomas v. Arn, 474 U.S. 140 (1985).

         DONE AND SUBMITTED in Chambers at Miami, Florida, on September 29, 2021.




                                                       _________________________
                                                       JACQUELINE BECERRA
                                                       United States Magistrate Judge




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